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From:             Kearney, Benet (USANYS)
To:               Faruqui Criminal; harvey_criminal@dcd.uscourts.gov; meriweather_criminal@dcd.uscourts.gov
Cc:               Rosborough, Danielle (NSD); Shelli Peterson; takeysha.robinson@psa.gov; Haywood, Derek (USMS); Yette,
                  Frederick (USADC)
Subject:          United States v. Hazard and Denney, 21 mj 686
Date:             Tuesday, December 21, 2021 12:39:00 PM


Good Afternoon.

Mr. Hazard and Mr. Denney were each arrested on December 13, 2021, in NDTX and WDTX
respectively, and each ordered detained after detention hearings in those districts on December 17,
2021. I’d like to schedule their initial appearances in DC, either next week or the first week of
January 2022.

Both were represented by FPD at the time of their Rule 5(c)(3) proceeding, but neither attorney will
be continuing the representation.

Thank you,
Benet


Benet J. Kearney
Assistant United States Attorney
Detailed to DC-USAO
United States Attorney's Office
Southern District of New York
One Saint Andrew's Plaza
New York, New York 10007
P: 212-637-2260
F: 212-637-0084
